                           No. 22-2870
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          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE EIGHTH CIRCUIT
                      __________________

                   UNITED STATES OF AMERICA,
                       Respondent-Appellee,

                                     v.

                           EDELL JACKSON,
                           Petitioner-Appellant
                           __________________

             On Appeal from the United States District Court
         for the District of Minnesota, No. 21-cr-51-DWF/TNL
    (The Honorable Donovan W. Frank, United States District Judge)
                            __________________
                 UNITED STATES’ RESPONSE TO
               PETITION FOR REHEARING EN BANC
                       __________________
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                              INTRODUCTION

      The panel correctly held that 18 U.S.C. § 922(g)(1), the federal felon-

dispossession statute, is constitutional as applied to petitioner-appellant Edell

Jackson, whose multiple prior felony convictions—including for drug

trafficking—disqualify him from possessing a firearm. The panel opinion

faithfully applied the text-and-history analysis required by New York State Rifle &

Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022), to reach its conclusion.

Although Jackson argues that the panel decision conflicts with Range v. Attorney

General, 69 F.4th 96 (3d Cir. 2023) (en banc), the panel opinion is correct and is

consistent with the overwhelming weight of pre- and post-Bruen precedent, and

the Third Circuit would not necessarily reach a different result on the facts of

this case. Finally, this Court should not grant rehearing to reconsider United

States v. Sitladeen, 64 F.4th 978, reh’g denied, 2023 WL 3330794 (8th Cir. 2023).

This case involves a different provision of Section 922(g) than Sitladeen, and the

two cases do not conflict. Jackson’s rehearing petition should be denied.

                               BACKGROUND

      1.    In January 2021, police officers responded to a report of domestic

assault involving “shots fired” at an apartment complex in Brooklyn Center,

Minnesota. R. Doc. 90 (PSR ¶ 6); United States v. Jackson, 69 F.4th 495, 498 (8th

Cir. 2023). A.W., Jackson’s girlfriend, reported that Jackson had punched and


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kicked her multiple times on the head, face, and torso before firing a gun at her

and leaving the scene. PSR ¶ 6. The officers observed visible injuries on A.W.’s

face and arms. Id. ¶ 7.

      After officers located Jackson in the apartment complex’s parking lot and

boxed in his car, he fled on foot, shedding his jacket as he ran. PSR ¶ 8; Jackson,

69 F.4th at 498. The officers caught Jackson, arrested him, and retrieved his

discarded jacket; they found a Bersa Thunder 9mm semi-automatic pistol in his

jacket pocket. PSR ¶¶ 8-9.

      At the time of his arrest, Jackson had two Minnesota state felony

convictions for drug trafficking: one in 2011, for which Jackson was sentenced

to 78 months of imprisonment, and one in 2012, for which Jackson was

sentenced to 144 months of imprisonment. PSR ¶¶ 44, 46; see also Jackson, 69

F.4th at 498. Jackson also had nine additional prior felony convictions,

including an Illinois state conviction for possessing a firearm as a felon and

multiple Illinois state drug-possession and drug-trafficking convictions. PSR

¶¶ 33, 38-43.

      2.    A federal grand jury indicted Jackson for violating 18 U.S.C.

§ 922(g)(1), which makes it “unlawful for any person who has been convicted

. . . of[] a crime punishable by imprisonment for a term exceeding one year”




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knowingly to possess a firearm. 1 R. Doc. 6. After a four-day trial, a jury

convicted Jackson. R. Doc. 67.

       Before sentencing, the Supreme Court decided New York State Rifle & Pistol

Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022), which “reiterate[d]” the

“standard for applying the Second Amendment,” id. at 2129. The Court

explained that “[w]hen the Second Amendment’s plain text covers an

individual’s conduct, the Constitution presumptively protects that conduct.” Id.

at 2129-30. When a regulation burdens presumptively protected conduct, “[t]he

government must then justify its regulation by demonstrating that it is consistent

with the Nation’s historical tradition of firearm regulation.” Id. at 2130.

       Jackson moved to dismiss his indictment based on Bruen, arguing that

Section 922(g)(1) violated the Second Amendment on its face and as applied to

him. R. Doc. 100. The district court denied Jackson’s motion. R. Doc. 114.

Citing the Supreme Court’s repeated assurances in District of Columbia v. Heller,

554 U.S. 570, 626-27 & n.26, 635 (2008), and McDonald v. Chicago, 561 U.S. 742,

786 (2010) (plurality opinion), that its decisions do not “cast doubt on

longstanding prohibitions on the possession of firearms by felons,” the district

court concluded that Section 922(g)(1) was facially constitutional. R. Doc. 114


1
 Jackson asserts that he “believed he had been relieved of his status as a felon,”
Pet. 1, but the jury rejected that argument when it convicted him of the offense.
See Jackson, 69 F.4th at 499-501.

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at 2-3 (quotations omitted). And it rejected Jackson’s as-applied challenge on

the basis that “Jackson has proven himself to be both dangerous and unable to

abide by the law.” Id. at 6.

      3.    On appeal, Jackson renewed his argument that Section 922(g)(1)

was unconstitutional as applied to him, positing that because his drug offenses

were “non-violent,” they did not render him “more dangerous than the typical

law-abiding citizen.” Jackson, 69 F.4th at 501. A panel of this Court disagreed,

concluding that Section 922(g)(1) “is not unconstitutional as applied to Jackson

based on his particular felony convictions.” Id. The panel emphasized the

Supreme Court’s repeated assurances that “longstanding prohibitions on the

possession of firearms by felons” remain intact. Id. at 501-02 (quotations

omitted). Those assurances, together with “the history that supports them,”

confirm that there is “no need for felony-by-felony litigation regarding the

constitutionality of § 922(g)(1).” Id. at 502. The panel observed that “[h]istory

shows that the right to keep and bear arms was subject to restrictions that

included prohibitions on possession by certain groups of people.” Id. In the

panel’s view, there were “two schools of thought on the basis for these

regulations”: one that found a historical tradition of disarming those who are

“unwilling to obey the government and its laws, whether or not they had

demonstrated a propensity for violence,” and the other that found a historical


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tradition of disarming those who are deemed “more dangerous than a typical

law-abiding citizen.” Id. at 502 (quotations omitted). The panel noted that “there

is considerable support in the historical record” for the law-abiding view of the

historical record. Id. at 504. But the panel did not explicitly embrace either view

because, after surveying common law, colonial statutes, and Founding-era

sources, see id. at 502-05, the panel concluded that “either reading supports the

constitutionality of § 922(g)(1) as applied to Jackson.” Id. at 502; see also id. at

505-06 (concluding that Section 922(g)(1) is constitutional as applied to

Jackson).

      Chief Judge Smith concurred, “agree[ing] that § 922(g)(1) is not

unconstitutional as applied to Jackson and that Heller remains the relevant

precedent” this Court is “bound to apply.” Jackson, 69 F.4th at 506.

                REASONS FOR DENYING THE PETITION

      The panel opinion faithfully applied Bruen’s text-and-history framework

by surveying the historical record and chronicling the analogous historical

precursors to Section 922(g)(1). The conflict between the panel opinion and the

Third Circuit’s reasoning in Range does not warrant en banc review here. The

panel opinion is correct and accords with the overwhelming weight of authority,

and the Third Circuit would not necessarily reach a different result in this case.




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Finally, Jackson’s attempt to manufacture a conflict with this Court’s decision

in Sitladeen is unavailing. The petition should be denied.

I.      The panel opinion faithfully applied Bruen.

        Jackson’s assertion (Pet. 4-5) that the panel opinion incorrectly undertook

Bruen’s historical inquiry lacks merit.2 Bruen explained that in determining

whether a modern regulation is supported by history, the inquiry “will often

involve reasoning by analogy.” Bruen, 142 S. Ct. at 2132-33. But, the Court

cautioned, “analogical reasoning under the Second Amendment” is not a

“regulatory straightjacket”: it “requires only that the government identify a well-

established representative historical analogue, not a historical twin.” Id. at 2133

(emphasis in original). Thus, in undertaking Bruen’s historical inquiry, courts

need not mine the historical record for a “dead ringer.” Id. The government need

only demonstrate, and courts need only conclude, that a regulation is

“analogous enough” to illustrative historical precursors. Id. at 2133-34.

        The panel opinion properly applied this standard to conclude that

historical laws disarming those who have demonstrated disrespect for legal

norms or who pose a risk of danger to the public are sufficiently analogous to

Section 922(g)(1). Jackson, 69 F.4th at 502-05. The panel opinion recognized that

2
 The government preserves the argument that the plain text of the Second
Amendment does not extend to Jackson because he is not one of “the people”
whom the Amendment protects. See Gov’t Br. at 46-49.

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restrictions on the possession of firearms by distrusted groups have a long

pedigree, dating back to “England in the late 1600s, when the government

disarmed non-Anglican Protestants who refused to participate in the Church of

England”; continuing “[i]n colonial America,” when “legislatures prohibited

Native Americans from owning firearms” and “prohibited possession of

firearms by people who refused to declare an oath of loyalty”; and persisting in

the early States, which “authorized punishments that subsumed disarmament—

death or forfeiture of a perpetrator’s estate—for non-violent offenses involving

deceit and wrongful taking of property.” Id. at 502-03; see also Gov’t Br. at 46-

62. The panel concluded that there is thus “considerable support in the historical

record” for the view that “legislatures traditionally possessed discretion to

disqualify categories of people from possessing firearms to address a threat

purportedly posed by these people to an orderly society and compliance with its

legal norms.” Jackson, 69 F.4th at 503 (quotations omitted).

      The panel also properly opined that even “if dangerousness is considered

the traditional sine qua non for dispossession, then history demonstrates that

there is no requirement for an individualized determination of dangerousness as

to each person in a class of prohibited persons.” Jackson, 69 F.4th at 504. As the

panel explained, “[l]egislatures historically prohibited possession by categories

of persons based on a conclusion that the category as a whole presented an


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unacceptable risk of danger if armed.” Id. These historical laws, which imposed

severe consequences on the commission of a felony and authorized legislatures

to disarm untrustworthy and dangerous persons, provide historical justification

for Section 922(g)(1). See Bruen, 142 S. Ct. at 2132.

      The panel opinion’s conclusion also accords with the Supreme Court’s

repeated assurances that the Second Amendment extends to “law-abiding,

responsible citizens,” Heller, 554 U.S. at 635, and that none of the Court’s

opinions “should be taken to cast doubt” on certain “presumptively lawful

regulatory measures,” such as “longstanding prohibitions on the possession of

firearms by felons,” id at. 626-27 & n.26. Indeed, in Bruen, six Justices reiterated

that certain firearms regulations, including prohibitions on the possession of

firearms by felons, are constitutional. See Bruen, 142 S. Ct. at 2157 (Alito, J.,

concurring); id. at 2162 (Kavanaugh, J., joined by Roberts, C.J., concurring); id.

at 2189 (Breyer, J., joined by Sotomayor and Kagan, JJ., dissenting). The panel

opinion properly reflects that these assurances are consistent with the underlying

historical record. Jackson, 69 F.4th at 501; see also id. at 506 (Smith, C.J.,

concurring).

      Even so, Jackson contends (Pet. 4) that the panel opinion “does not meet

Bruen’s requirement that the challenged regulation and the historical analogues




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be ‘relevantly similar.’”3 In effect, Jackson argues that Bruen requires a closer

resemblance between the challenged regulation and historical analogues. But as

just explained, Bruen only requires that historical laws be “analogous enough”

to modern regulations. 142 S. Ct. at 2133.

       Regardless, the historical analogues described in the panel opinion are

“relevantly similar” to Section 922(g)(1). Bruen did not provide “an exhaustive

survey of the features that render regulations relevantly similar under the Second

Amendment,” but it identified two “central considerations”: “how and why the

regulations burden a law-abiding citizen’s right to armed self-defense.” Id. at

2132-33 (emphasis added). Put another way, proper analogical reasoning under

Bruen asks “whether modern and historical regulations impose a comparable

burden on the right of armed self-defense and whether that burden is comparably

justified.” Id. at 2133 (emphasis and quotations omitted).

       Applying these metrics, Section 922(g)(1)’s dispossession of felons

imposes no “burden [on] a law-abiding citizen’s right to armed self-defense.”




3
  The Jackson panel’s reference to the Range panel decision, Range v. Att’y Gen.,
53 F.4th 262 (3d Cir. 2022) (per curiam), vacated, 69 F.4th 96 (3d Cir. 2023),
which, as the Jackson panel knew, had been vacated before the panel here issued
its opinion, see Jackson, 69 F.4th at 502, does not undermine the panel’s
conclusion that historical regulations permit dispossessing Jackson, which it
reached based on its own interrogation of the relevant historical analogues. See
Jackson, 69 F.4th at 502-05 (independently recounting history).

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Bruen, 142 S. Ct. at 2133 (emphasis added). And any burden imposed on felons’

rights is comparable to historical laws disarming the untrustworthy and less

severe than many historical punishments for felony offenses, which often

included the death penalty or forfeiture of one’s entire estate. See Jackson, 69

F.4th at 503. Modern historical laws are also “comparably justified.” Bruen, 142

S. Ct. at 2133. The historical laws outlined in the panel opinion sought to

adequately punish felons, deter recidivism, and protect society from the

untrustworthy and those unable to comply with legal norms. See Jackson, 69

F.4th at 503-04. Section 922(g)(1) serves a more limited but equally justified

purpose: to protect society from gun violence committed by felons, who have

previously shown disregard for society’s laws and pose a risk of danger to

society. Id. at 504.

      Finally, to the extent Jackson contends (see Pet. 4-5) that the government

was required to identify a “distinctly similar” analogue to demonstrate a

historical tradition for disarming him, he is wrong. Under Bruen, if a modern

regulation “addresses a general societal problem that has persisted since the 18th

century, the lack of a distinctly similar historical regulation” can be “relevant

evidence” that the challenged regulation is inconsistent with the Second

Amendment. Bruen, 142 S. Ct. at 2131. But a “distinctly similar” regulation is

not necessary to uphold the regulation. Bruen set out a single test, rooted in


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“analogical reasoning,” that turns on whether a modern law is “relevantly

similar” to “historical analogue[s]”; analogues that clear that threshold are

sufficient to justify firearms regulations, whether they are “distinctly similar” or

not. Id. at 2131-33.

II.   The conflict between the panel opinion and the Third Circuit’s
      reasoning in Range does not warrant en banc review.

      Jackson’s contention (Pet. 2-4) that rehearing is warranted to reconcile the

panel opinion with Range is also incorrect. In Range, the en banc Third Circuit

held that the government failed to demonstrate a historical tradition of

disarming Bryan Range, whose sole disqualifying conviction, a Pennsylvania

misdemeanor punishable by up to five years in prison, was for understating his

income on a food stamp application in 1995. Range, 69 F.4th at 98. In reaching

that conclusion, the Third Circuit held that the government failed to

demonstrate a historical tradition of disarming Range or “people like Range.”

Id. at 106.

      Jackson is correct that, whereas the panel opinion here found “no need

for felony-by-felony litigation regarding the constitutionality of § 922(g)(1),” 69

F.4th at 502, Range rejected the government’s status-based arguments and found

Section 922(g)(1) unconstitutional as applied to Range. Even so, en banc review

is not warranted for at least three reasons.



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      First, the panel opinion’s conclusion that there is a historical tradition of

disarming felons like Jackson is correct. The panel opinion correctly held that

“Congress acted within the historical tradition when it enacted § 922(g)(1).”

Jackson, 69 F.4th at 505. And it properly adhered to the Supreme Court’s

repeated statements that the Second Amendment extends only to “law-abiding

citizen[s]” and that its opinions “should [not] be taken to cast doubt on

longstanding prohibitions on the possession of firearms by felons.” Id. at 501-03,

505 & n.3 (quotations omitted). Because the historical tradition confirms those

statements, the panel properly concluded that Section 922(g)(1) “is not

unconstitutional as applied to Jackson based on his particular felony

convictions.” Id. at 501.

      For its part, the Range majority made several analytical missteps in finding

Section 922(g)(1) unconstitutional as applied to Range. First, the Range majority

rejected the Supreme Court’s repeated assurances that felon dispossession

statutes are “longstanding” and “presumptively lawful.” Range, 69 F.4th at 114

(Shwartz, J., dissenting) (quotations omitted). Second, the Range majority

“discount[ed] the importance of the Supreme Court’s emphasis on law-

abidingness as a limitation on the Second Amendment right.” Id. And third, the

Range majority required the government to “identify a historical crime, including

its punishment,” that mirrored Range’s conviction, notwithstanding Bruen’s


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assurance that its framework does not demand a “dead ringer” or a “historical

twin.” Id. at 114-15 (quotations omitted). Range’s analysis and conclusion render

it inconsistent with Heller and Bruen.

       Second, Range is out of step with the overwhelming weight of pre- and post-

Bruen authority, which accords (and agrees) with the Jackson panel’s analytical

approach and bottom-line conclusion. Several pre-Bruen court of appeals

decisions categorically upheld felon-possession prohibitions under some version

of a text-and-history analysis. See, e.g., Medina v. Whitaker, 913 F.3d 152, 157-61

(D.C. Cir. 2019); United States v. Rozier, 598 F.3d 768, 771 (11th Cir. 2010) (per

curiam); United States v. Scroggins, 599 F.3d 433, 451 (5th Cir. 2010); United States

v. McCane, 573 F.3d 1037, 1047 (10th Cir. 2009); accord Hamilton v. Pallozzi, 848

F.3d 614, 625-27 (4th Cir. 2017); see also Heller v. District of Columbia, 670 F.3d

1244, 1278 (D.C. Cir. 2011) (Kavanaugh, J., dissenting) (noting that “the Court

in Heller affirmatively approved a slew of gun laws,” including “felon-in-

possession laws,” “based on a history- and tradition-based test”) (emphasis in

original). Range is the only post-Bruen circuit court decision finding Section

922(g)(1) unconstitutional.4 And all but one of the approximately 200 post-Bruen




4
  In Atkinson v. Garland, 70 F.4th 1018, 1020 (7th Cir. 2023), a divided panel of
the Seventh Circuit remanded a civil plaintiff’s Second Amendment challenge
to Section 922(g)(1) to the district court to undertake the Bruen analysis in the

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district court decisions to address the question have concluded that Section

922(g)(1) is unconstitutional. See United States v. Bullock, --- F. Supp. 3d ---, No.

3:18-cr-165, 2023 WL 4232309, at *2 (S.D. Miss. June 28, 2023). Some district

court decisions have even questioned or distinguished Range, favoring instead

the Jackson panel’s authoritative understanding of the Second Amendment’s

reach. See, e.g., United States v. Keels, No. 23-cr-20085, 2023 WL 4303567, at *6

(E.D. Mich. June 30, 2023) (noting that “[e]very other appellate court to

consider section 922 since Bruen has upheld the statute’s constitutionality” and

agreeing with Jackson that there is no need for felony-by-felony litigation

regarding the constitutionality of Section 922(g)(1)); United States v. Jordan, No.

1:23-cr-159, 2023 WL 4267602, at *2 (N.D. Ohio June 29, 2023) (“The Court

declines to follow Range as it finds that the Supreme Court has been consistently

clear that its Second Amendment jurisprudence has cast no doubt on the validity

of the prohibitions on the possession of firearms by convicted felons.”)

(emphasis in original); United States v. Kearney, No. 4:23-cr-29, 2023 WL

3940106, at *1 n.1 (E.D. Va. June 9, 2023) (declining to apply Range).

      Third, and in any event, the Third Circuit described its decision as

“narrow.” Range, 69 F.4th at 106. The Range court did not, as Jackson suggests



first instance. That court did not address the merits of the defendant’s challenge
or suggest how the court would rule on that challenge.

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(Pet. i), conclude that Section 922(g)(1) is unconstitutional “as applied” to

anyone “convicted only of a nonviolent felony offense.” Range held only that

the government did not demonstrate Section 922(g)(1)’s constitutionality as

applied to Range, whose disqualifying offense was a decades-old state-law

misdemeanor conviction for less than $2,500 worth of food-stamp fraud, an

offense for which he served no jail time. Range, 69 F.4th at 98, 106; see also id. at

105 (comparing the government’s historical analogues to “Range and his

individual circumstances”); id. at 103 (similar); id. at 104 & n.9 (similar). The

Third Circuit would not necessarily reach the same result in this case, where the

underlying felony convictions include drug trafficking. See, e.g., Folajtar v. Att’y

Gen., 980 F.3d 897, 922 (3d Cir. 2020) (Bibas, J., dissenting) (“Disarming

burglars and drug dealers makes sense because their past crimes were inherently

dangerous.”).

      Finally, contrary to Jackson’s contention (Pet. 3), there is no real risk that

the panel opinion’s correct historical analysis will permit legislatures to

arbitrarily disarm disfavored groups or revive the means-end scrutiny that Bruen

rejected. So long as Bruen remains the operative analytical framework, the

government will have to demonstrate, using representative historical analogues,

how and why any modern regulation is consistent with those analogues. Bruen,

142 S. Ct. at 2133. The government did that here.


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III.   Rehearing is not warranted based on this Court’s recent decision
       in Sitladeen.

       Jackson further contends (Pet. 5-9) that the panel opinion conflicts with

Sitladeen, which upheld 18 U.S.C. § 922(g)(5)(A)’s prohibition on firearm

possession by unlawfully present noncitizens, relying on circuit precedent

holding that “unlawful aliens are not part of ‘the people’ to whom the

protections of the Second Amendment extend.” Sitladeen, 64 F.4th at 987.

Jackson argues that the panel opinion “correctly dispensed with an analysis of

the scope of the Second Amendment right,” but that Sitladeen “requires such an

analysis,” Pet. 5 (emphasis added; capitalization omitted), and this Court should

grant review to “make clear” that the “correct approach” is to avoid a “scope-

of-the-right analysis,” id. at 7. This Court should decline that invitation.

       As a threshold matter, the “conflict” Jackson identifies does not exist.

Jackson reads Sitladeen to “require[ ]” that courts always analyze “whether the

person affected by a firearm prohibition ‘is part of “the people” to whom the

protections of the Second Amendment extend.’” Pet. 6 (quoting Sitladeen, 64

F.4th at 987). But Sitladeen merely held that, under circuit precedent, the

defendant was not among “the people” covered by the Second Amendment. 64

F.4th at 985-87. It did not say courts must conduct the same inquiry in every

case. Thus, by not explicitly discussing whether Jackson was part of “the

people,” the panel decision here did not conflict with Sitladeen.

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        Indeed, the panel here had no reason to ask whether Jackson was one of

“the people” because it concluded that there is a historical tradition of disarming

felons. Jackson, 69 F.4th at 505-06. That conclusion—rooted in the panel’s

determination that Section 922(g)(1) was constitutional whether Jackson is part

of “the people” or not—rendered any inquiry into the scope of that term, and

whether Jackson falls within it, unnecessary. Furthermore, the panel’s decision

to pretermit that analysis was consistent with the “flexibility” that courts have

“to determine the order of decisionmaking that will best facilitate the fair and

efficient disposition of each case.” Pearson v. Callahan, 555 U.S. 223, 242 (2009).

        In any event, it would not be appropriate to “reconsider the holding of

Sitladeen” here. Pet. 6. This case involves a different provision than Sitladeen and

presents no basis to reconsider Sitladeen’s holding that unlawfully present non-

citizens are not part of “the people.” Moreover, the panel decision did not

discuss Sitladeen or the “scope of the right” approach; indeed, Jackson believes

that the panel “correctly” avoided undertaking a “scope of the . . . right”

analysis. Pet. 5 (capitalization omitted). And this Court has already denied

rehearing in Sitladeen. No. 22-1010, 2023 WL 3330794, at *1 (order denying en

banc rehearing). That case does not support his request for rehearing en banc

here.




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                             CONCLUSION

    The petition for rehearing en banc should be denied.

                                      Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I hereby certify that on July 27, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Eighth

Circuit by using the CM/ECF system. I certify that all participants in the case

are registered CM/ECF users and that service will be accomplished by the

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                                         /s/ Mahogane D. Reed
                                         Mahogane D. Reed




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                                         /s/ Mahogane D. Reed
                                         Mahogane D. Reed




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